Case 2:14-cv-05719-SDW-SCM Document 93 Filed 10/12/17 Page 1 of 1 PageID: 1092




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


      NEPOMUCENO,                                         Civil Action No.
              Plaintiff,
      v.                                                  2:14-cv-05719-SDW-SCM

      MIDLAND CREDIT MANAGEMENT,                          ORDER ADMINISTRATIVELY
      INC., et al.,                                       TERMINATING ACTION
                    Defendants.


           It having been reported on the record today to the Court that the above-captioned
    action has been settled,
           IT IS on this October 12, 2017,
           ORDERED that this action and any pending motions are hereby administratively
    terminated; and it is further
           ORDERED that this shall not constitute a dismissal Order under Federal Rule of
    Civil Procedure 41; and it is further
           ORDERED that within 30 days after entry of this Order, the parties shall file all
    papers necessary to dismiss this action under Federal Rule of Civil Procedure 41 or, if
    settlement cannot be consummated, request that the action be reopened; and it is further
           ORDERED that, absent receipt from the parties of dismissal papers or a request to
    reopen the action within the 30 day period, the Court shall dismiss this action, without
    further notice, with prejudice and without costs.




                                                        10/12/2017 6:47:58 PM
    Original: Clerk of the Court
    Hon. Susan D. Wigenton, U.S.D.J.
    cc: All parties
